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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

 Case No.          SACV 10-01130-JVS (AJWx)                                     Date   October 28, 2010

 Title             EAS Technolotgies, LLC v. Mathew Higbee, et al


 Present: The                    James V. Selna
 Honorable
                         Karla J. Tunis                                      Not Present
                         Deputy Clerk                                      Court Reporter


                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                          Not Present                                         Not Present
 Proceedings:           (IN CHAMBERS) Order Granting in Part and Denying in Part
                        Defendants’ Motion to Dismiss and Strike Complaint for Failure to
                        State a Claim Upon Which Relief Can Be Granted (fld 9-20-10)

       This action arises out of the parties’ maintenance of websites designed to assist
individuals with criminal records obtain expungement of those records. In the sole cause
of action asserted in the Complaint, plaintiff alleges that defendants’ sites infringe upon
their copyrighted site, in violation of 17 U.S.C. § 101. Defendants have moved to
dismiss, for a more definite statement, and to strike. As set forth below, the Court
GRANTS IN PART AND DENIES IN PART the Motion to Dismiss, Motion to Strike,
and Motion for a More Definite Statement.

                                             I. Factual Allegations

       The Complaint alleges that plaintiff’s site, www.clearmyrecord.com, offers self-
help services; defendants’ websites, www.recordgone.com and www.recordclearing.org,
“claim to provide legal services [relating to expungement of criminal records] through its
internet services . . . through licensed attorneys [in several states].” Compl. ¶¶ 7, 8, 14,
17.

      Plaintiff alleges that it “has applied for copyright registration of its databases and
websites” and that it is “the owner of the copyright associated with its databases and
websites.” Compl. ¶¶ 20-21.

      Plaintiff also alleges that defendants’ www.recordgone.com website “is
substantially similar” to its copyrighted material because defendants “in effect cop[ied]
and/or us[ed] portions of EAS’s copyrighted websites and databases. Compl. ¶ 23.
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                                  II. Standard for Dismissal

        Under Rule 12(b)(6), a defendant may move to dismiss for failure to state a claim
upon which relief can be granted. A plaintiff must state “enough facts to state a claim to
relief that is plausible on its face.” Bell Atl. Corp. v. Twombly , 550 U.S. 544, 570
(2007). A claim has “facial plausibility” if the plaintiff pleads facts that “allow[] the
court to draw the reasonable inference that the defendant is liable for the misconduct
alleged.” Ashcroft v. Iqbal, __ U.S. __, 129 S. Ct. 1937, 1949 (2009).

        In resolving a Rule 12(b)(6) motion under Twombly, the Court must follow a
two-pronged approach. First, the Court must accept all well-pleaded factual allegations as
true, but “[t]hread-bare recitals of the elements of a cause of action,
supported by mere conclusory statements, do not suffice.” Iqbal, 129 S. Ct. at 1949.
Nor must the Court “accept as true a legal conclusion couched as a factual allegation.”
Id. at 1949-50 (quoting Twombly, 550 U.S. at 555). Second, assuming the veracity of
well-pleaded factual allegations, the Court must “determine whether they plausibly give
rise to an entitlement to relief.” Id. at 1950. This determination is context-specific,
requiring the Court to draw on its experience and common sense, but there is no
plausibility “where the well-pleaded facts do not permit the court to infer more than the
mere possibility of misconduct.” Id.

                   III. Sufficiency of Allegations of Copyright Infringement

       To successfully plead a claim for copyright infringement, a plaintiff must plead
facts that tend to establish “(1) ownership of the copyright; and (2) infringement – that
the defendant copied protected elements of the plaintiff’s work.” Three Boys Music
Corp. v. Bolton, 212 F.3d 477, 481 (2000). Here, plaintiff alleges that it owns a
copyright in its website. Compl. ¶ 20. Moreover, plaintiff alleges that defendant “in
effect cop[ied]” its websites. These allegations suffice to state a claim for copyright
infringement. See Robert Kubicek Architects & Associates, Inc. v. Bosley, No. CV 09-
00145 PHX-MHM, 2009 WL 3188391, at * 1 (D. Ariz. Sept. 29, 2009) (rejecting what
the court characterized as a “heightened pleading standard” advocated by copyright
infringement defendant that would require a plaintiff “to state (1) which specific original
works are the subject of the claim, (2) that plaintiff owns the copyrights in issue, (3) that
the works in issue have been registered, and (4) by what acts and during what time frame
defendants have infringed on the copyright”).

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        Defendant’s reliance on the Central District’s dismissal of copyright claims in the
case of Vander Music v. Azteca Int’l Corp., Case No. 2:08-CV-08184-JHN-RCx (C.D.
Cal., Sept. 15, 2007) (Docket No. 67), does not convince the Court otherwise. In Vander
Music, the Court dismissed copyright claims asserted in the First Amended Complaint
(“FAC”) for failure to plead them properly. However, there, the FAC alleged that
defendant broadcast thirty-two musical compositions without the required license at some
unspecific points in time within a four-and-one-half year period, resulting in both “direct”
and “indirect” infringement. See id. ¶ 6 (Docket No. 61). The Court dismissed the
singular claim for copyright infringement as to all thirty-two compositions for failure to
comply with Fed. R. Civ. P. 10(b)’s requirement that separate claims “limited . . . to a
single set of circumstances” be pleaded. Id. at 3-4 (Docket No. 67). The Court also
required the plaintiff, in the anticipated amended pleading, to refrain from “mingl[ing]” a
number of different copyright doctrines without identifying the legal theory upon which
each separate claim is based. Id. at 5. Significantly, for current purposes, the Court
dismissed the claim for copyright infringement, without elaboration, for failure to
“provide a factual basis” showing that the plaintiff was entitled to relief. Id. at 4-5
(emphasis in the original). In doing so, however, the Court did not adopt the heightened
pleading standard advocated by defendant; rather, a reading of the Vander Music
dismissal order reveals that the Court was concerned with the plaintiff’s presentation of
its many claims, based on a number of different works, and based on a number of varying
copyright theories, including direct, contributory, and vicarious copyright infringement,
all in a singular claim. Id. These concerns are not at issue in the present case, where
plaintiff has alleged that an defendant’s identified website infringes its identified website.

       Moreover, the case cited by defendant at the hearing is similarly unhelpful in
discerning the pleading requirements for a copyright claim.1 Plaintiff cited Neo v.
Marina Bros., Inc., No. C 09-00739 WHA, 2009 WL 2447923 (N.D. Cal., Aug. 7, 2009).
There, the Court recited the elements of copyright infringement, ownership and
infringement of protected material, before dismissing the plaintiff’s copyright claim
because, having failed to allege ownership of copyrighted material, no analysis of the
second element was possible. Id. at *2. Here, unlike the plaintiff in Neo, plaintiff has
made factual allegations regarding the material it claims is copyrighted. Clearly,
plaintiff’s factual allegations do not permit defendant to delve as deeply into the merits of

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           Defendant cited two cases at oral argument. The first case defendant cited, at 2008 WL
115411, was not found. Because it was no cited in defendant’s motion or reply, and was improperly
cited at the hearing, the Court does not consider it.
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plaintiff’s claim as it would like; however, plaintiff has met its obligation to sufficiently
plead its copyright claim.

         Thus, the Court DENIES the Motion to Dismiss the copyright infringement claim.


                                IV. Registration Requirement

       Before a plaintiff may sue for copyright infringement, it must first register the
work. 17 U.S.C. § 411(a). Recently, the Ninth Circuit had occasion to consider “[w]hat
it mean[s] to register a copyrighted work,” identifying two separate approaches used by
federal appellate courts to answer that question. Cosmetic Ideas, Inc. v.
IAC/Interactivecorp., 606 F.3d 612, 615 (9th Cir. 2010). Some courts have held that “a
copyright [is] registered at the time the copyright holder’s application is received by the
Copyright Office,” while others have held that a copyright is registered “at the time that
the Office acts on the application and issues a certificate of registration.” Id. at 615-16
(collecting cases). The Ninth Circuit adopted the former approach, requiring only that a
copyright holder file an application for registration. Id. at 621 (“We therefore hold that
receipt by the Copyright Office of a complete application satisfies the registration
requirement of § 411(a).”).

        Seizing on the language that a “complete application” must be filed, defendants
criticize plaintiff’s allegations as inadequate that it “has applied for copyright
registration,” and “has filed an application for such copyright registration.” Compl. ¶ 21.
Defendants do not elaborate upon their position as to what constitutes a “complete
application,” which the Court presumes refers to an applicant’s compliance with statutes
related to copyright registration. See e.g., 17 U.S.C. § 408 (requirement of deposit of
copyrighted work); § 409 (setting forth requirements for copyright application); § 708(a)
(setting forth requirement for fees). Defendants have not cited any authority for the
position that recitation of compliance with every step of the registration process is
required before a plaintiff may state a claim for copyright infringement, and the Court’s
research has found none. Therefore, the Court concludes that plaintiff’s allegations are
sufficient at the pleadings stage.

     V. Availability of Statutory Damages, Attorneys’ Fees, and Punitive Damages

         Defendant moves to strike prayers for statutory damages, attorneys’ fees, and
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punitive damages. These requests are more appropriately examined as motions to
dismiss. See Whittlestone, Inc. v. Handi-Craft Co., __ F.3d __, No. 09-16353, 2010 WL
3222417, at *4 (9th Cir., Aug. 17, 2010) (“We therefore hold that Rule 12(f) does not
authorize district courts to strike claims for damages on the ground that such claims are
precluded as a matter of law.”).

       Defendants move to dismiss the prayer for statutory damages and attorneys’ fees
because those remedies are not available for infringement that “commence[s] after first
publication of the work and before the effective date of registration.” See Motion at 7;
Reply at 10-11; 17 U.S.C. § 412. In this context, where the first act of infringement in a
series of ongoing infringements occurs prior to the effective date of the registration,
statutory damages and attorneys’ fees are not available for any of the ongoing
infringement. See Derek Andrew, Inc. v. Poof Apparel Corp., 528 F.3d 696, 701 (9th
Cir. 2008) (“Accordingly, we join those circuits that addressed the issue before us and
hold that the first act of infringement in a series of ongoing infringements of the same
kind marks the commencement of one continuing infringement under § 412.”) (footnote
and internal citations omitted). The rule is clear, but its applicability in light of the facts
pled is not.

        The effective date of the registration is, however, by statute, backdated to the date
of the copyright application. See Cosmetic Ideas, 606 F.3d at 617 (citing 17 U.S.C. §
408(a)). That date is not set forth in the Complaint, and indeed, absent a registration
certificate, has not yet been set. Moreover, plaintiff has not plead when the alleged
infringement began, and indeed, it may not yet possess that information, which is likely
to be in defendant’s possession. Although at later stages of the litigation (but before
trial), it may be determined that these damages are not available, plaintiff has met the
burden for making this prayer for relief at the pleadings stage.

     Thus, the motion to dismiss the prayer for relief to the extent it seeks statutory
damages and attorneys’ fees is DENIED.

      In contrast, punitive damages are not ever permitted under the Copyright Act.
Bucklew v. Hawkins, Ash, Baptie & Co., LLP., 329 F.3d 923, 934 (7th Cir. 2003); cf. 17
U.S.C. § 504(a)(1) (actual damages); § 504(a)(2) (statutory damages). Indeed, the Ninth
Circuit has suggested that the wide range of statutory damages available under the
Copyright Act may serve a purpose similar to punitive damages. See Dream Games of
Arizona, Inc. v. PC Onsite, 561 F.3d 983, 992 (9th Cir. 2009) (noting the “compensatory
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and punitive purposes” of statutory damages under the Copyright Act) (internal quotation
marks and citation omitted) (emphasis added); Nintendo of America, Inc. v. Dragon
Pacific Intern., 40 F.3d 1007, 1011 (9th Cir. 1994) (noting that “[t]he punitive and
deterrent purposes [of statutory damages under the Copyright Act] explain the heightened
maximum award of $100,000 per infringement”). Thus, the availability of statutory
damages ameliorates the need for punitive damages.

        Plaintiff cites only TVT Records v. Island Def Jam Music Group, 262 F.Supp.2d
185, 186 (S.D.N.Y. 2003) as primary authority for such an award. TVT Records,
however, has been resoundingly criticized for this holding. See e.g., LTVN Holdings,
LLC v. Odeh, No. CCB-09-789, 2010 WL 2612690, at *3 (June 25, 2010, D. Md. 2010);
Viacom Intern. Inc. v. Youtube, Inc., 540 F.Supp.2d 461, 464 (S.D.N.Y. 2008) (“The
leading treatise on copyright law recently described the TVT decision, on which Blanch
rests, as a ‘rogue decision’ which ‘should not be followed in light of the profusion of
contrary cases.’”) (citation omitted). Accordingly, the Court DISMISSES WITH
PREJUDICE plaintiff’s prayer for punitive damages.

                                       VI. Attribution

      Defendant moves to strike plaintiff’s “attribution” allegations. Again, because the
challenge is that the allegations are legally insufficient, it must be analyzed as a motion to
dismiss. Whittlestone, 2010 WL 3222417 at *4.

       Section 106A of the Copyright Act, the Visual Artists Rights Act (“VARA”),
protects the proper use of the artist’s name and the physical integrity of the artist’s work.
See 17 U.S.C. § 106A. The right of attribution allows the creator of a work of visual art
to “claim authorship of that work” and “to prevent the use of his or her name as the
author of any work of visual art which he or she did not create.” 17 U.S.C. § 106A(a)(1).
The right of integrity allows the author “to prevent the use of his or her name as the
author of the work of visual art in the event of a distortion, mutilation, or other
modification of the work which would be prejudicial to his or her honor or reputation.”
17 U.S.C. § 106A(a)(2). VARA only protects attribution and integrity rights when the
author’s work qualifies as a “work of visual art,” as defined in Section 101. 17 U.S.C. §
101; 17 U.S.C. § 106A(a).

      Plaintiff makes no argument in opposition to dismissal of these allegations. The
copyrighted work at issue does not seem to the Court to fall into the definition of works
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protected by VARA. Therefore, the Court DISMISSES WITH PREJUDICE the
attribution allegations, ¶ 24 of the Complaint.

                                         VII. “Use”

       Defendant moves to strike “use” allegations as irrelevant. See Motion at 8. At the
hearing, in apparent agreement with defendant’s argument, plaintiff stated that it
attempted, although inartfully so, to state a claim for infringement based upon the
creation of an unlawful derivative work. Thus, the Court DISMISSES these allegations.
Plaintiff may amend the Complaint to assert the its intended claim.

                                      VIII. Conclusion

       The Court GRANTS IN PART AND DENIES IN PART the Motion to Dismiss
and Motion to Strike. The alternative Motion for a More Definite Statement is DENIED.
Plaintiff is granted twenty days leave to amend.

         IT IS SO ORDERED.




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